Case 4:19-cv-00663-JFH-JFJ Document 6 Filed in USDC ND/OK on 12/16/19 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

 LARRY HOLLAND, as Special Administrator               )
 for the Estate of FLOYD HOLLAND, deceased,            )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )      Case No.: 19-CV-663-CVE-JFJ
                                                       )
 TURN KEY HEALTH CLINICS, LLC, et al.,                 )
                                                       )
                                Defendants.            )


                              DISCLOSURE STATEMENT
                     BY DEFENDANT TURN KEY HEALTH CLINICS, LLC


        Pursuant to the Federal Rule of Civil Procedure 7.1 and LCvR7.1, Turn Key Health Clinics,

 LLC, a named Defendant in the above-styled cause, makes the following disclosure:

        1. Turn Key Health Clinics, LLC is not a publicly held corporation or other publicly held

           entity.

        2. TK Health Holdings, LLC (a Delaware limited liability company) and TCSCFI TK,

           LLC (a Delaware limited liability company) are the parent corporations of Turn Key

           Health Clinics, LLC.

        3. TK Health Holdings, LLC and TCSCFI TK, LLC are not publicly held corporations.

        4. No publicly held corporation or other publicly held entity owns 10% or more of Turn

           Key Health Clinics, LLC.

        5. Turn Key Health Clinics, LLC has no subsidiaries.

        6. No publicly held corporation or other publicly held entity have a direct financial interest

           in the outcome of this litigation.

        7. Turn Key Health Clinics, LLC is not a trade association.
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 Dated this 16th day of December, 2019.



                                             Respectfully submitted,

                                             /s/ Paulina Thompson
                                             SEAN P. SNIDER, OBA # 22307
                                             PAULINA THOMPSON, OBA # 31736
                                             JOHNSON HANAN VOSLER
                                             HAWTHORNE & SNIDER
                                             9801 N. Broadway Extension
                                             Oklahoma City, OK 73114
                                             Telephone: (405) 232-6100
                                             Facsimile: (405) 232-6105
                                             E-Mail: ssnider@johnsonhanan.com
                                             E-Mail: pthompson@johnsonhanan.com
                                             Attorneys for Defendant Turn Key Health Clinics,
                                             LLC




                                CERTIFICATE OF MAILING

         I hereby certify that on the 16th of December, 2019, a true and correct copy of the above
 and foregoing was electronically transmitted to the Clerk of this Court using the ECF System for
 filing and transmittal of a Notice of Electronic filing to the following ECF registrants:

 J. Spencer Bryan             jsbryan@bryanterrill.com
 Steven Terrill               sjterrill@bryanterrill.com



                                                     /s/ Paulina Thompson
                                                     Paulina Thompson, OBA #31736




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